  Case 17-33830       Doc 13     Filed 01/03/18 Entered 01/03/18 09:57:39             Desc Main
                                   Document     Page 1 of 1


                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In Re:                                             CHAPTER 13 CASE
                                                   CASE NO. 17-33830
Dennis Melvin Skelly
                                                   NOTICE OF APPEARANCE AND
                  Debtor.                          REQUEST FOR SERVICE OF NOTICE AND
___________________________________                ALL FILINGS

         Wilford, Geske & Cook P.A. hereby gives notice pursuant to Federal Rules of

Bankruptcy Procedure 9010(b), 2002, and 1007-2 of the Local Rules of Bankruptcy Procedure,

that it is appearing in the above-captioned bankruptcy case as attorneys for Citizens Community

Federal N.A., its successors and/or assigns, and the undersigned requests receipt of all notices

and all papers (including, but not limited to, pleadings, motions, applications, orders, financial

and other reports) served or filed in this case, and that the undersigned be added to the mailing

matrix. Notice should be sent to the following address:

                                           Orin J. Kipp
                                   Wilford, Geske & Cook P.A.
                                    7616 Currell Blvd Ste 200
                                   Woodbury, MN 55125-2296

Dated: January 3, 2018
                                                  WILFORD, GESKE & COOK P.A.


                                                  /e/ Orin J. Kipp
                                                  Orin J. Kipp, #0390438
                                                  Attorneys for Citizens Community Federal N.A.
                                                  7616 Currell Blvd Ste 200
                                                  Woodbury, MN 55125-2296
                                                  (651) 209-3300




THIS COMMUNICATION IS FROM A DEBT COLLECTOR ATTEMPTING TO
COLLECT A DEBT. ANY INFORMATION OBTAINED WILL BE USED FOR THAT
PURPOSE.
